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                                      UNITED STATES DISTRICT COURT
  13
                                     CENTRAL DISTRICT OF CALIFORNIA
  14
                                 WESTERN DIVISION AT LOS ANGELES
  15

  16    THERAGUN, INC., a Delaware                  Case No: 2:21-cv-01006-JAK-PD
        corporation,
  17
                        Plaintiff,                  DEFENDANT’S NOTICE OF MOTION
  18                                                AND MOTION TO DISMISS FIRST
                   v.                               AMENDED COMPLAINT UNDER
  19                                                FED. R. CIV. P. 12(b)(6);
        PENTHE COMPANY, a Delaware                  MEMORANDUM OF POINTS AND
  20    corporation,                                AUTHORITIES
  21                    Defendant.                  HEARING:
  22                                                DATE: SEPTEMBER 20, 2021
                                                    TIME: 8:30 A.M.
  23                                                COURTROOM: 10B
  24                                                JUDGE: HON. JOHN A. KRONSTADT
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                                                                   Defendant’s Motion to Dismiss FAC
                                                                     Case No: 2:21-cv-01006-JAK-PD
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   1                   NOTICE OF MOTION AND MOTION TO DISMISS FIRST AMENDED
   2                            COMPLAINT UNDER FED. R. CIV. P. 12(b)(6)
   3               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   4               PLEASE TAKE NOTICE THAT on September 20, 2021, at 8:30 A.M.,1 or as soon
   5    thereafter as this matter may be heard, before the Honorable Judge John A. Kronstadt in
   6    Courtroom 10B of the United States District Court for the Central District of California, Western
   7    Division, located at 350 W. First Street, Los Angeles, CA 90012, Defendant Penthe Company
   8    (“Penthe”) will move and hereby does move the Court, pursuant to Fed .R. Civ. P. 12(b)(6), to
   9    dismiss the First Amended Complaint (Dkt. No. 30) of Plaintiff Theragun, Inc. (“Theragun”)
  10    for failure to state a claim upon which relief can be granted.
  11               This Motion is made following the conference of counsel that took place on May 12,
  12    2021.
  13               Defendant’s Motion is made on this Notice, the accompanying Memorandum of Points
  14    and Authorities, the Declaration of Jeanne M. Gills (including attached Exhibits, which are the
  15    Exhibits referenced in the Memorandum), all pleadings and papers that are of record in this case,
  16    and on such other and further evidence as may be adduced at the hearing.
  17

  18                                                 Respectfully Submitted,
  19
          Dated: May 19, 2021                         /s/ Jeanne M. Gills
  20                                                  Jeanne M. Gills
                                                      Justin M. Sobaje
  21                                                  Tiffany K. Sung
                                                      FOLEY & LARDNER LLP
  22
                                                      Attorneys of Record for Defendant
  23                                                  Penthe Company
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  26            Defendant Penthe Company’s earlier filed Motion for Judicial Notice (Dkt. 29),
        which remains relevant to the present Motion, has been noticed for a hearing date of August
  27    16, 2021. Defendant is willing to argue the present Motion on that same date, if the Court
        has time available on that date.
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                                                                               Defendant’s Motion to Dismiss FAC
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.     INTRODUCTION
 3            Defendant Penthe Company (“Penthe”) seeks dismissal of the First Amended Complaint
 4     (Dkt. 30) (“FAC”) filed by Plaintiff Theragun, Inc. (“Theragun”) pursuant to Fed. R. Civ. P.
 5     12(b)(6) for failure to state a claim upon which relief can be granted.2 Theragun’s second attempt
 6     at stating a viable claim against Penthe fares no better than its first, as the FAC suffers from the
 7     same deficiencies as the original Complaint (Dkt. 1).
 8            Theragun’s first cause of action for Federal trade dress infringement should be dismissed
 9     because Theragun failed to: (1) clearly articulate the concrete elements of its alleged trade dress;
10     (2) plead facts with specificity as to how its alleged trade dress is non-functional; (3) plead
11     concrete facts regarding secondary meaning, as its alleged trade dress based on the color blue
12     cannot be inherently distinctive as a matter of law; and (4) plead sufficient facts to support a
13     finding of a substantial likelihood of consumer confusion between Theragun’s products and the
14     accused products. Theragun’s second cause of action based on state law should be dismissed for
15     the same reasons as the Federal trade dress claim.
16            Theragun’s third, fourth, fifth, sixth, seventh, and eighth causes of action for design patent
17     infringement should be dismissed because Theragun failed to plead factual content that would
18     allow the Court to draw a reasonable inference that Penthe is liable under the ordinary observer
19     test, which recent decisions by the USPTO on the scope of those patents only further confirms.
20     Theragun’s ninth cause of action under Cal. Bus. and Prof. Code § 17200 should be dismissed
21     because any claim based on alleged patent infringement is preempted by the Federal Patent Act,
22     and any claim based on alleged trade dress infringement should be dismissed for the same
23     reasons as the Federal trade dress claim.
24
              2
25             Penthe does not make, have made, use, sell, offer to sell, or import the products
       accused in the FAC and has never done any of those actions and, for that reason, the FAC
26     should be dismissed with respect to Penthe. Plaintiff and Defendant are currently in
       discussions regarding filing a stipulation to substitute one or more other parties in place of
27     Penthe in this case, but the present Motion to Dismiss is expected to be supported by the
       ultimately named defendant(s) such that the Motion will not need to be re-filed.
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 1     II.    FACTUAL BACKGROUND
 2            Theragun filed the Complaint on February 3, 2021, asserting nine causes of action.
 3     Penthe moved to dismiss the Complaint for failure to state a claim or alternatively, to stay
 4     pending ex parte reexaminations of the patents-in-suit. See Dkt. 27. Theragun then filed its FAC,
 5     asserting the same nine causes of action, but failing to correct the pleading deficiencies Penthe
 6     pointed out in its Motion to Dismiss. Penthe’s original Motion to Dismiss was rendered moot
 7     (Dkt. 33) and the Motion to Stay was continued. In the meantime, the USPTO denied Penthe’s
 8     ex parte reexamination requests, prompting Penthe to withdraw its Motion to Stay. See Dkt. 34.
 9     The USPTO decisions, however, further support Penthe’s arguments regarding the design patent
10     claims in its original Motion to Dismiss and Penthe is therefore bringing the present Motion.
11            Theragun’s first asserted cause of action is for alleged Federal trade dress infringement.
12     FAC at ¶¶46-56. The purported “Trade Dress” is alleged by Theragun to be “the blue color, the
13     use of which is pervasive on Theragun’s website, advertising, and as applied to its massage gun
14     products and packaging as specifically described below.” Id. at ¶14. Theragun then includes
15     various images of packaging and massage gun products. Id. at ¶¶15-18. These images are
16     different from each other and do not demonstrate a consistent use of “the blue color.” Id.
17     Theragun added a few images of massage gun products as compared to the original Complaint,
18     which show yet different color arrangements. Id. at ¶18. While Theragun contends it has used
19     the color blue “since at least as early as May 31, 2015,” it does not allege that it has sold the
20     particular products shown in these images since that time. Id at ¶13.
21            The FAC makes the conclusory statement that “[t]he Trade Dress, namely, the
22     application of a distinctive color of blue to various parts of its products or packaging, is not
23     functional” and then simply recites the elements of the legal test for determining functionality.
24     Id. at ¶19. Theragun also asserts that its alleged trade dress “is either inherently distinctive, or,
25     through Theragun’s continuous use and promotion, has acquired distinctiveness, and the Trade
26     Dress is uniquely associated with Theragun and its massage gun products,” while at the same
27     time alleging that it “offered certain special edition products with accents in other colors” and
28     “omits the blue accents from certain of its basic product lines.” Id. at ¶20. Theragun claims the
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                                                                                Defendant’s Motion to Dismiss FAC
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 1     “Trade Dress is associated by the public exclusively with Theragun and its products and is used
 2     by the public as an indicator of the origin and quality of Theragun’s massage gun products.” Id.
 3     at ¶21. Theragun also makes the conclusory assertions that using a blue color is “likely to cause
 4     confusion or mistake” and that Penthe “did confuse, mislead, and/or deceive the public ….” Id.
 5     at ¶¶27, 49, 51. Theragun’s second asserted cause of action is purportedly for common law trade
 6     dress infringement and unfair competition, though it again makes no separate allegations from
 7     its trade dress claim. Id. at ¶¶57-62.
 8            Theragun’s third, fourth, fifth, sixth, seventh, and eighth asserted causes of action are for
 9     alleged design patent infringement of U.S. Patent Nos. D849,261 (Dkt. 1-1) (“the ’261 Patent”),
10     D861,182 (Dkt. 1-2) (“the ’182 Patent”), D869,387 (Dkt. 1-3) (“the ’387 Patent”), D850,640
11     (Dkt. 1-4) (“the ’640 Patent”), D859,680 (Dkt. 1-5) (“the ’680 Patent”), and D890,943 (Dkt. 1-
12     6) (“the ’943 Patent”) (collectively “the patents-in-suit”) that are related to either a “Massage
13     Element” or a “Rechargeable Battery” design. Id. at ¶¶28-45, 63-128. For each allegation,
14     Theragun only shows two figures from the asserted patent and a single side view photograph of
15     each accused product. Id. Theragun failed to include additional photographs of the accused
16     products even in light of Penthe’s argument in its original Motion to Dismiss that additional
17     views of the accused products should be considered in an ordinary observer analysis, while at
18     the same time opposing Penthe’s Motion for Judicial Notice regarding additional photographs.
19     See Dkt. 27 at 18-23; Dkt. 29, Motion for Judicial Notice, at 2-3, Dkt. 32, Opposition to Motion
20     for Judicial Notice, at 4-5. Theragun’s ninth asserted cause of action is for alleged state unfair
21     business practices under Cal. Bus. and Prof. Code § 17200, though this claim is not distinct from
22     its patent infringement and trade dress claims. Id. at ¶¶129-132.
23            Filed concurrently herewith is a Declaration of Jeanne M. Gills (“Gills Decl.”) with
24     various Exhibits for which Penthe sought Judicial Notice in connection with its Motion to
25     Dismiss the Complaint.3 See Dkt. 29. Exs. 1-4 of the Gills Decl. are screenshots from
26

27            3
               Penthe’s Motion for Judicial Notice has not been withdrawn as the same documents
       are also relevant to the present Motion to Dismiss the First Amended Complaint.
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 1     Theragun’s website showing that Theragun provides similar products with the colors red, gold,
 2     white with red, or completely black. Ex. 5 to the Gills Decl. is a screenshot of a webpage for
 3     Google image search results for the search phrase “massage gun blue,” showing that the
 4     massage product industry is replete with competitors using the color blue. Exs. 6-8 to the Gills
 5     Decl. show additional views of the accused products. On February 2, 2021, Penthe filed ex parte
 6     reexamination requests with the USPTO for all of the patents-in-suit. Exs. 9-14 to the Gills Decl.
 7     are “Notice of Streamlined Reexamination Request Filing Date” reflecting the February 2nd
 8     filing date. Exs. 15-20 to the Gills Decl. are the USPTO decisions denying the ex parte
 9     reexamination requests, which identify various elements of the design patent claims.4
10     III.   THE FIRST AMENDED COMPLAINT SHOULD BE DISMISSED
11            A.     The Legal Standards
12                   1.      Rule 12(b)(6)
13            Under Fed. R. Civ. P. 12(b)(6), a complaint should be dismissed if the complaint “fail[s]
14     to state a claim upon which relief can be granted.” “To survive a motion to dismiss, a complaint
15     must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
16     on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009) (quoting Bell
17     Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1974 (2007)). In other words,
18     “[f]actual allegations must be enough to raise a right to relief above the speculative level.”
19     Twombly, 550 U.S. at 555. “[L]abels and conclusions, and a formulaic recitation of the elements
20     of a cause of action will not do.” Id. “‘[N]aked assertion[s]’ devoid of ‘further factual
21     enhancement’” are no better. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).
22                   2.      Trade Dress Infringement Pleading Requirements
23            “To state a claim for trade dress infringement under the Lanham Act, a plaintiff must first
24     identify the trade dress at issue.” R & A Synergy LLC v. Spanx, Inc., No. 2:17-cv-09147-SVW-
25     AS, 2019 U.S. Dist. LEXIS 168266, at *9 (C.D. Cal. May 1, 2019). “Once the trade dress is
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               Exs. 15-20 to the Gills Decl. are the subject of Penthe’s concurrently filed Request
27     for Judicial Notice. These documents were specifically raised during the meet and confer
       with Theragun.
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 1     defined,” the plaintiff must then plead factual content that allows the court to draw the
 2     reasonable inference that: “(1) the trade dress is nonfunctional; (2) the trade dress is inherently
 3     distinctive or has acquired a ‘secondary meaning’ associated with the plaintiff’s product; and
 4     (3) there is a substantial likelihood of confusion among consumers between the plaintiff’s
 5     product and the defendant’s product.” Id. (citation omitted); Virgin Scent, Inc. v. Bel Air Nats.
 6     Care Corp., No. CV 17-08284-AB (RAOx), 2018 U.S. Dist. LEXIS 226095, at *7 (C.D. Cal.
 7     Feb. 8, 2018); Alixir Co. v. Que Onda Bev., Inc., No. 2:20-cv-08368-RGK-RAO, 2021 U.S.
 8     Dist. LEXIS 51844, at *9 (C.D. Cal. Jan. 6, 2021).
 9                            a.   Alleged Trade Dress Must Be Clearly Articulated
10            “As a threshold matter, a plaintiff should clearly articulate its claimed trade dress to give
11     a defendant sufficient notice.” Sugarfina, Inc. v. Sweet Pete’s LLC, No. 17-cv-4456-RSWL-
12     JEM, 2017 U.S. Dist. LEXIS 156711, at *10-11 (C.D. Cal. Sep. 25, 2017) (internal quotations
13     omitted); see also Mosaic Brands, Inc. v. Ridge Wallet LLC, No. 2:20-cv-04556-AB (JCx), 2020
14     U.S. Dist. LEXIS 219857, at *15 (C.D. Cal. Oct. 29, 2020). In other words, “‘a plaintiff [must]
15     allege[] a complete recitation of the concrete elements of its alleged trade dress’ to proceed with
16     its trade dress claim.” Sugarfina, 2017 U.S. Dist. LEXIS 156711, at *11 (quoting Lepton Labs,
17     LLC v. Walker, 55 F. Supp. 3d 1230, 1240 (C.D. Cal. 2014)). A trade dress infringement
18     allegation should be dismissed where the “[p]laintiff has not met its burden to identify the trade
19     dress at issue for its trade dress claim with sufficient specificity as necessary to provide adequate
20     notice” to the defendant. R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *15 (internal
21     quotations omitted).
22            Referring in a complaint to pictures of products and packaging as allegedly identifying a
23     trade dress does not satisfy the pleading requirement to clearly articulate what comprises the
24     claimed trade dress, because pictures are insufficient to put a defendant on notice of the asserted
25     trade dress.5 Indeed, Theragun’s mere providing of pictures in its FAC in combination with the
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              5
                Mosaic Brands, 2020 U.S. Dist. LEXIS 219857, at *17 (“images and descriptions
27     Plaintiff provides of some of its products are alone insufficient to put Defendant on notice
       of the asserted trade dress for those products or any others”); Washoutpan.com v. Hd
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 1     description of a primary color combination does not provide a sufficiently detailed description
 2     as is required to proceed with a trade dress infringement allegation.6
 3                          b.     Plaintiff Must Allege With Specificity How Its Alleged
 4                                 Trade Dress Is Non-Functional
 5            “‘[T]rade dress protection extends only to product features that are nonfunctional.’”
 6     R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *15-16 (quoting Disc Golf Ass’n v.
 7     Champion Discs, Inc., 158 F.3d 1002, 1006 (9th Cir. 1998)). A claim for trade dress
 8     infringement should be dismissed, therefore, where a plaintiff fails to plead facts with specificity
 9     as to how its alleged trade dress is non-functional, and instead makes conclusory assertions
10     regarding non-functionality. Id. at *15-21, *28 (dismissing first amended complaint due in part
11     to plaintiff’s failure to plead how its proposed trade dress is nonfunctional).7
12            “‘Functional features of a product are features which constitute the actual benefit that the
13     consumer wishes to purchase, as distinguished from an assurance that a particular entity made,
14
       Supply Const. Supply Ltd., No. 2:19-cv-00494-AB (JEMx), 2019 U.S. Dist. LEXIS
15     231695, at *13-15 (C.D. Cal. Aug. 5, 2019) (rejecting argument that attaching pictures of
       the trade dress suffices at the pleading stage); Homeland Housewares, LLC v. Euro-Pro
16     Operating LLC, No. CV 14-03954 DDP (MANx), 2014 U.S. Dist. LEXIS 156675, at *8-
17     9 (C.D. Cal. Nov. 5, 2014) (dismissing claim where photograph and description “d[id] not
       sufficiently identify the particular elements” sought to be protected as trade dress).
18            6
                P & P Imps., LLC v. Festival Trading, Inc., No. CV 17-1541-DOC (JCGx), 2018
19     U.S. Dist. LEXIS 225770, at *24-26 (C.D. Cal. May 15, 2018). In P & P Imports, the
       plaintiff included photographs of its products in the complaint to purportedly demonstrate
20     its alleged trade dress, but the court found that “Plaintiff’s descriptions of its trade dress—
21     pictures in combination with various primary color combinations—do not provide
       sufficiently ‘detailed description’ of Plaintiff’s trade dress to proceed.” Id. at *24-25.
22            7
                See also Puma SE v. Forever 21, Inc., No. CV17-2523 PSG Ex, 2017 U.S. Dist.
23     LEXIS 211140, at *15-17 (C.D. Cal. June 29, 2017) (dismissing trade dress infringement
       cause of action where plaintiff failed to allege how its trade dress is non-functional); Virgin
24     Scent, 2018 U.S. Dist. LEXIS 226095, at *12-14 (granting motion to dismiss “because
25     Plaintiff fails to support its conclusory allegation of non-functionality” with factual
       allegations); Swift Harvest USA, LLC v. Boley Int’l HK Ltd., No. ED CV 19-1700-DMG
26     (GJSx), 2020 U.S. Dist. LEXIS 247232, at *37-39 (C.D. Cal. Sep. 22, 2020) (conclusory
       statement that alleged trade dress is non-functional does not satisfy pleading requirement);
27     Kellytoy Worldwide, Inc. v. Hugfun Int’l, Inc., No. CV-19-07652-MWF (MAAx), 2019
       U.S. Dist. LEXIS 228248, at *12-15 (C.D. Cal. Dec. 4, 2019) (same).
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 1     sponsored, or endorsed a product.’” Puma, 2017 U.S. Dist. LEXIS 211140, at *14 (C.D. Cal.
 2     June 29, 2017) (quoting Rachel v. Banana Republic, Inc., 831 F.2d 1503, 1506 (9th Cir. 1987)).
 3     “‘The functionality doctrine prevents trademark law, which seeks to promote competition by
 4     protecting a firm’s reputation, from instead inhibiting legitimate competition by allowing a
 5     producer to control a useful product feature.’” Virgin Scent, 2018 U.S. Dist. LEXIS 226095, at
 6     *11 (quoting Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 164, 115 S. Ct. 1300, 1304
 7     (1995)). “The Ninth Circuit has developed a four-factor test to determine whether a product
 8     feature is functional: (1) whether the design yields a utilitarian advantage; (2) whether alternative
 9     designs are available; (3) whether advertising touts the utilitarian advantage of the design; and
10     (4) whether the particular design results from a comparatively simple or inexpensive method of
11     manufacture.” R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *16-17 (internal quotations
12     omitted).
13            The Supreme Court in Qualitex recognized that colors can have a utilitarian advantage,
14     and pointed to various lower court decisions on that point such as a decision that “barred the use
15     of black as a trademark on outboard boat motors (because black has the special functional
16     attributes of decreasing the apparent size of the motor and ensuring compatibility with many
17     different boat colors).” Qualitex, 514 U.S. at 169-70 (citation omitted). Colors can also be
18     functional due to “aesthetic functionality,” which are “product features that serve an aesthetic
19     purpose wholly independent of any source-identifying function.” Aurora World, Inc. v. TY Inc.,
20     No. CV 09-08463 MMM (Ex), 2011 U.S. Dist. LEXIS 161676, at *73-78 (C.D. Cal. Mar. 14,
21     2011) (internal quotations omitted). The alleged trade dress in Aurora World involved fanciful
22     coloring of toys, and the court granted summary judgment for defendant where the defendant
23     “contend[ed] that the fanciful coloring of the toys … [is] aesthetically functional because [i]t is
24     the toys’ aesthetics that drive the consumer to purchase them.” Id.
25                          c.     Plaintiff Must Allege Facts Regarding The Purported Trade
26                                 Dress Having Acquired A Secondary Meaning
27            Necessary to a trade dress claim is factual content that allows the court to draw the
28     reasonable inference that the alleged trade dress “is either inherently distinctive or has acquired
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 1     a secondary meaning.” Virgin Scent, 2018 U.S. Dist. LEXIS 226095, at *7 (C.D. Cal. Feb. 8,
 2     2018) (internal quotations omitted). “[N]aked assertions regarding distinctiveness and
 3     secondary meaning cannot sustain a claim of trade dress infringement.” Kittrich Corp. v. United
 4     Indus. Corp., No. CV 17-06211 DDP (PLAx), 2017 U.S. Dist. LEXIS 230984, at *17 (C.D.
 5     Cal. Oct. 18, 2017). “[C]onclusory allegations of distinctiveness and secondary meaning” also
 6     fail. Swift Harvest, 2020 U.S. Dist. LEXIS 247232, at *39 (C.D. Cal. Sep. 22, 2020).
 7           A mark is inherently distinctive if “its intrinsic nature serves to identify a particular
 8     source.” Wal-Mart Stores v. Samara Bros., 529 U.S. 205, 210, 120 S. Ct. 1339, 1343 (2000)
 9     (internal quotations omitted). The Supreme Court and the Ninth Circuit have both explained that
10     colors can never be inherently distinctive. Id. at 211 (“with respect to at least one category of
11     mark–colors–we have held that no mark can ever be inherently distinctive”) (citing Qualitex,
12     514 U.S. at 162-163); EZ Pedo, Inc. v. Mayclin Dental Studio, Inc., 765 F. App’x 323, 324 (9th
13     Cir. 2019) (“[t]he [purported] trade dress adds nothing more than a particular color, which the
14     Supreme Court has held cannot alone be inherently distinctive”) (citing Qualitex, 514 U.S. at
15     162-63); Skechers U.S.A., Inc. v. Vans, Inc., No. CV 07-01703 DSF (PLAx), 2007 U.S. Dist.
16     LEXIS 88635, at *7 (C.D. Cal. Nov. 20, 2007) (“colors can never be inherently distinctive”).
17           “Secondary meaning is the ‘mental association by a substantial segment of consumers
18     and potential consumers between the alleged [trade dress] and a single source of the product.’”
19     Swift Harvest, 2020 U.S. Dist. LEXIS 247232, at *39 (quoting Levi Strauss & Co. v. Blue Bell,
20     Inc., 778 F.2d 1352, 1354 (9th Cir. 1985)). In other words, “[s]econdary meaning occurs ‘when
21     the purchasing public associates the mark or dress with a single producer or source rather than
22     with the product itself.’” R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *22 (quoting Int’l
23     Jensen, Inc. v. Metrosound U.S.A., Inc., 4 F.3d 819, 824 (9th Cir. 1993)). “To determine whether
24     a product’s trade dress has acquired secondary meaning, courts will consider: ‘(1) whether actual
25     purchasers of the product bearing the claimed trademark associate the trademark with the
26     producer, (2) the degree and manner of advertising under the claimed trademark, (3) the length
27     and manner of use of the claimed trademark, and (4) whether use of the claimed trademark has
28     been exclusive.’” Id. (quoting Yellow Cab Co. v. Yellow Cab of Elk Grove, Inc., 419 F.3d 925,
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 1     930 (9th Cir. 2005)). Dismissal of a claim for trade dress infringement is warranted where a
 2     plaintiff fails to plead sufficient concrete facts that the purported trade dress has acquired a
 3     secondary meaning.8 Moreover, an allegation of copying of trade dress cannot support an
 4     inference of secondary meaning where the alleged copier clearly labeled its own product with
 5     its own label. Aromatique, Inc. v. Gold Seal, Inc., 28 F.3d 863, 871 (8th Cir. 1994).
 6                         d.     Plaintiff Must Allege Sufficient Facts To Support A Finding
 7                                Of Likelihood Of Confusion
 8           Just as the court in R & A Synergy dismissed the claim for trade dress infringement for
 9     failure to plead sufficient facts to support a finding of likelihood of confusion, so should this
10     Court. R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *25-28. The plaintiff in that case
11     provided two examples of alleged consumer confusion based on alleged consumer comments.
12     Id. at *26. The court found that those allegations failed to support the conclusion that consumers
13     could not tell the difference between the products. Id. at *26-27. The court also found that the
14     marketing and packaging materials made the products easily discernible from each other. Id.
15           “The element of confusion is assessed as ‘whether a reasonably prudent consumer would
16     be confused about the source of the goods bearing the marks.’” Id. at *25 (quoting Adidas Am.,
17     Inc. v. Skechers USA, Inc., 890 F.3d 747, 755 (9th Cir. 2018)). If the defendant’s packaging and
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             8
19              Kittrich, 2017 U.S. Dist. LEXIS 230984, at *16-17 (dismissing trade dress claims
       where plaintiff failed to allege “concrete facts” regarding secondary meaning and
20     explaining that plaintiff’s allegations were “conclusory” when they stated that the trade
21     dress has become associated with plaintiff’s brand and that the product had widespread
       distribution and extensive commercial sales); Deckers Outdoor Corp. v. Fortune Dynamic,
22     Inc., No. CV 15-769 PSG (SSx), 2015 U.S. Dist. LEXIS 188274, at *14-17 (C.D. Cal. May
       8, 2015) (plaintiff had not sufficiently pled that the purported trade dress had acquired a
23     secondary meaning); R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *21-25 (plaintiff
       failed to sufficiently allege enough factual matter regarding secondary meaning because
24
       allegations of successful sales of products is insufficient to equate any secondary meaning
25     about any feature with the brand even where plaintiff had promoted the general design in
       its advertisements); Swift Harvest, 2020 U.S. Dist. LEXIS 247232, at *39-41 (explaining
26     that general allegations of secondary meaning are inadequate, and that it is inadequate to
       state that packaging has “acquired a strong consumer awareness and secondary meaning”
27     without providing concrete facts).
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 1     products prominently display the defendant’s name, then that weighs very strongly against any
 2     likelihood of confusion, because “the most common and effective means of apprising intended
 3     purchasers of the source of goods is a prominent disclosure on the container, package, wrapper
 4     or label of the manufacturer’s or trader’s name.’” S & B Filters Inc. v. R2C Performance Prods.,
 5     LLC, No. EDCV 16-1069-JFW (MRWx), 2016 U.S. Dist. LEXIS 192271, at *23-24 (C.D. Cal.
 6     Aug. 18, 2016) (internal quotations omitted).9
 7                  3.     Design Patent Infringement Pleading Requirements
 8           “The ‘ordinary observer’ test is the sole test for determining whether a design patent has
 9     been infringed.” Columbia Sportswear N. Am., Inc. v. Seirus Innovative Access., Inc., 942 F.3d
10     1119, 1129 (Fed. Cir. 2019) (citing Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678
11     (Fed. Cir. 2008) (en banc)). The “ordinary observer” test is whether “an ordinary observer,
12     familiar with the prior art designs, would be deceived into believing that the accused product is
13     the same as the patented design.” Crocs, Inc. v. ITC, 598 F.3d 1294, 1303 (Fed. Cir. 2010).
14     Design patent infringement allegations should be dismissed where a plaintiff fails to plead
15     factual content that would allow the court to draw a reasonable inference that the defendant is
16     liable for the alleged infringement under the ordinary observer test.10 Moreover, a design patent
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             9
18             See also Spark Indus., LLC v. Kretek Int’l, Inc., No. CV 14-5726-GW(ASx), 2014
       U.S. Dist. LEXIS 125538, at *47-51 (C.D. Cal. Aug. 28, 2014) (collecting cases in which
19     “courts have held that the prominent placement of a distinguishing word mark or brand
       name on arguably similar trade dress can dispel a likelihood of confusion,” and explaining
20     that the permanent and prominent display of different name logos on the products
21     “significantly diminish the similarity of the competing trade dress”).
             10
22               SCG Characters LLC v. Telebrands Corp., No. CV 15-00374 DDP (AGRx), 2015
       U.S. Dist. LEXIS 101287, at *11-17, *21-22 (C.D. Cal. Aug. 3, 2015) (dismissing
23     infringement claim where “the patented design and claimed design are sufficiently distinct
       that it is clear that [plaintiff] cannot satisfy the ordinary observer test”); Anderson v.
24     Kimberly-Clark Corp., 570 F. App’x 927, 928, 933-34 (Fed. Cir. 2014) (affirming
25     dismissal for “failure to state a claim of infringement” where the district court “properly
       concluded that ‘plain differences’ exist between the accused products and the patented
26     design” due to “dissimilarities apparent to the ordinary observer”); Colida v. Nokia, Inc.,
       347 F. App’x 568, 569-71 (Fed. Cir. 2009) (concluding that the district court properly
27     granted a motion to dismiss where the “infringement claims were facially implausible and
       provided the district court with no basis on which to reasonably infer that an ordinary
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 1     claim should be dismissed where the plaintiff fails to provide sufficient photographs of the
 2     accused products to allow the court to draw a reasonable inference that the defendant is liable
 3     under the ordinary observer test.11
 4                          a.     All Figures Of A Design Patent Must Be Considered For
 5                                 The Ordinary Observer Test
 6            “[T]he ‘ordinary observer’ analysis is not limited to the ornamental features of a subset
 7     of the drawings, but instead must encompass the claimed ornamental features of all figures of a
 8     design patent.” Contessa Food Prods. v. Conagra, Inc., 282 F.3d 1370, 1379 (Fed. Cir. 2002).
 9     It is erroneous, therefore, to fail to consider or compare the features of the patented design from
10     all figures when conducting an ordinary observer analysis. Id. In Contessa Food, the Federal
11     Circuit held that it was erroneous for a district court to only consider one figure of a design
12     patent with respect to the top of an accused product without also considering another figure of
13     the design patent with respect to the bottom of the accused product in conducting the ordinary
14     observer test. Id. at 1378-79.
15            The need to compare all of the drawings of the design patent with the accused product
16     for the ordinary observer test also applies when deciding a motion to dismiss. Anderson, 570 F.
17     App’x at 933. In Anderson, the Federal Circuit compared both the external of a product as well
18     as the interior of the product to find that there were dissimilarities with the patent that were
19     apparent to the ordinary observer in the context of a motion to dismiss. Id.
20                          b.     Functional Elements In A Design Patent Are Outside Of
21

22     observer would confuse the pleaded patented designs with the accused [product]”).
              11
23               Hung v. Lowe’s Home Ctrs., No. CV 18-10545 SJO (JEMx), 2019 U.S. Dist.
       LEXIS 168825, at *3-5 (C.D. Cal. May 1, 2019) (granting motion to dismiss where
24     “[p]laintiff provide[ed] a few poor quality photographs of the infringing products” such
25     that the court did not have exhibits for comparing the allegedly infringing products with
       the patented design); Sanho Corp. v. Intelliarmor, No. 8:20-cv-00735-JLS-DFM, 2020
26     U.S. Dist. LEXIS 199299, at *8, *13 (C.D. Cal. Sep. 25, 2020) (granting motion to dismiss
       where the Court was “left to guess whether the Accused Products bear any resemblance to
27     the Design Patents” because the first amended complaint failed to “incorporate any
       drawings or photographs that allow the Court to infer a plausible claim of infringement”).
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 1                                 The Patent’s Scope
 2            “[T]he scope of a design patent claim ‘must be limited to the ornamental aspects of the
 3     design.’” Sport Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1320 (Fed. Cir. 2016) (quoting
 4     Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1333 (Fed. Cir. 2015)). “‘Where
 5     a design [in a design patent] contains both functional and non-functional elements, the scope of
 6     the claim must be construed in order to identify the non-functional aspects.’” Id. (quoting
 7     OddzOn Prods. v. Just Toys, 122 F.3d 1396, 1405 (Fed. Cir. 1997)). Functional elements of a
 8     design in a design patent, therefore, are outside of the patent’s scope and are not taken into
 9     account when determining similarities in an ordinary observer analysis. Colida v. Nokia, Inc.,
10     347 F. App’x 568, 571 (Fed. Cir. 2009) (“The [accused cell phone] and the [design] patents
11     share a folding design, but the magistrate judge correctly noted that this element is functional,
12     not ornamental, and is therefore outside the patents’ scope”). The Federal Circuit in Colida
13     praised the magistrate judge for recognizing that a functional element is outside of the patents’
14     scope in the context of a motion to dismiss. Id. at 569, 571.
15                   4.     California Unfair Competition Claims Cannot Be Based On
16                          Allegations Of Patent Infringement
17            State common law claims of unfair competition pursuant to Cal. Bus. and Prof. Code
18     § 17200 are preempted by the Patent Act “unless the state law claim contains an element not
19     shared by the federal law; an element which changes the nature of the action so that it is
20     qualitatively different from a copyright [or patent] infringement claim.” Deckers, 2015 U.S.
21     Dist. LEXIS 188274, at *21 (internal quotations omitted). If the “alleged unfair conduct is
22     simply [defendant’s] unauthorized manufacture, distribution, or sale of goods that infringe on
23     [plaintiff’s] patent,” then such a “theory of wrongful conduct is not ‘qualitatively different’ than
24     a claim for patent infringement based on that conduct; therefore, the unfair competition claims
25     premised on [such a] theory are preempted by the Patent Act.” Id. at *24.
26                   5.     An Unfair Competition Claim Premised On An Inadequately
27                          Pleaded Trade Dress Infringement Claim Should Be Dismissed
28            “‘[T]rade dress infringement claims under the Lanham Act and unfair competition claims
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 1     under California Business and Professions Code section 17200 are inextricably linked.’”
 2     Benebone LLC v. Pet Qwerks, Inc., No. 8:20-cv-00850-AB (AFMx), 2020 U.S. Dist. LEXIS
 3     250164, at *18-19 (C.D. Cal. Sep. 3, 2020) (quoting Millennium Labs. v. Ameritox, Ltd., 817
 4     F.3d 1123, 1131 (9th Cir. 2016)). This is because “‘state common law claims of unfair
 5     competition and actions pursuant to California Business and Professions Code § 17200 are
 6     substantially congruent to claims made under the Lanham Act.’” Id. at *19 (quoting Cleary v.
 7     News Corp., 30 F.3d 1255, 1262-63 (9th Cir. 1994)). Therefore, if a plaintiff’s unfair
 8     competition claims are predicated on a defendant’s alleged infringement of trade dress, then the
 9     unfair competition claim must be dismissed when the court determines that plaintiff has not
10     adequately pleaded its trade dress infringement claim. Id. (dismissing unfair competition claim
11     because trade dress infringement claim not adequately pleaded); see also Sugarfina, 2017 U.S.
12     Dist. LEXIS 156711, at *16 (dismissing unfair competition claims to the extent the claims were
13     premised on inadequately pleaded trade dress infringement claim). In view of the authority that
14     state common law claims of unfair competition pursuant to Cal. Bus. and Prof. Code § 17200
15     are substantially congruent to claims made under the Lanham Act, there is no other separate
16     California common law trade dress claim from an unfair competition claim. See Magic Kitchen
17     LLC v. Good Things Internat., Ltd., 153 Cal. App. 4th 1144, 1157, 1157 n. 3 (Cal. App. 2d Dist.
18     July 30, 2007) (not resolving question but noting that “Plaintiffs contend that the state law claim
19     most analogous to their federal trade dress infringement claim is for unfair practices under
20     section 17200”).
21            B.     Theragun’s First Cause Of Action For Federal Trade Dress
22                   Infringement Should Be Dismissed
23            Theragun’s first cause of action for Federal Trade dress infringement under 15 U.S.C. §
24     1125(a) should be dismissed because Theragun failed to: (1) clearly articulate the concrete
25     elements of its alleged trade dress; (2) plead facts with specificity as to how its alleged trade
26     dress is non-functional; (3) plead concrete facts regarding secondary meaning, as its alleged
27     trade dress based on the color blue cannot be inherently distinctive as a matter of law; and
28     (4) plead sufficient facts to support a finding of a substantial likelihood of consumer confusion
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 1     between Theragun’s products and the accused products. Each of these failures by Theragun is
 2     discussed below.
 3                   1.     Theragun Failed To Clearly Articulate The Concrete Elements Of
 4                          Its Alleged Trade Dress
 5            Theragun has not met its pleading burden to identify its alleged trade dress at issue with
 6     a complete recitation of the concrete elements of its alleged trade dress. The FAC purports to
 7     define the “Trade Dress” as “the blue color, the use of which is pervasive on Theragun’s website,
 8     advertising, and as applied to its massage gun products and packaging as specifically described
 9     below.” FAC at ¶14. Theragun then refers to images of packaging and indicates that the blue
10     text is the trade dress (id. at ¶15) but also images of massage gun products and indicates that the
11     blue on the handles and blue accents is the trade dress (id. at ¶¶16-17). However, as numerous
12     courts have explained, referring in a complaint to pictures of products and packaging as
13     allegedly identifying trade dress does not satisfy the pleading requirement to clearly articulate
14     what comprises the claimed trade dress, because pictures are insufficient to put a defendant on
15     notice of the asserted trade dress. See, e.g., Mosaic Brands, 2020 U.S. Dist. LEXIS 219857, at
16     *17; Washoutpan, 2019 U.S. Dist. LEXIS 231695, at *13-15; Homeland Housewares, 2014
17     U.S. Dist. LEXIS 156675, at *8-9; P & P Imports, 2018 U.S. Dist. LEXIS 225770, at *24-26.
18            P & P Imports is instructive. When addressing plaintiff’s similarly deficient pleading, the
19     court explained that “Plaintiff’s descriptions of its trade dress—pictures in combination with
20     various primary color combinations—do not provide sufficiently ‘detailed description’ of
21     Plaintiff’s trade dress to proceed” and that “[b]ecause of the lack of specific description,
22     Plaintiff’s trade dress claim fails for vagueness under the Rule 8 pleading standard.” Id. at *25-
23     26.
24            The vagueness is further compounded in the present case because all of the images that
25     Theragun refers to in its FAC for its products and packaging are different from each other, so
26     there is no way to determine what exactly Theragun claims as its proposed trade dress. FAC at
27     ¶¶15-18. Even within the images of the massage gun products, the color blue is displayed in
28     different locations. While Theragun claims that the trade dress is the color blue on the handle
                                                      -14-
                                                                              Defendant’s Motion to Dismiss FAC
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 1     portion of its massage gun products, some images show massage gun products that clearly do
 2     not have any blue on the handle portion. See id. at ¶18. Further, Theragun claims that the trade
 3     dress is also the color blue used as an accent color “in a band encircling the arm to which the
 4     massage head attachments are attached and to the circle above said arm.” Id. at ¶18. However,
 5     the images show products without a blue band encircling the arm and without a blue circle above
 6     said arm. See id. Theragun states that it has used the color blue “since at least as early as May
 7     31, 2015,” but it does not allege (at ¶13) that it has sold the particular products shown in the
 8     images in Paragraphs 15-18 since that time or that it is even still selling all of those products.
 9     Without a listing of the concrete elements of what Theragun alleges as its trade dress, it is
10     impossible to analyze, for example, the length and manner of use of the alleged trade dress by
11     Theragun. Theragun has therefore failed to meet its burden under the cited precedent herein to
12     identify the alleged trade dress at issue with sufficient specificity as required by the courts.
13                   2.     Theragun Failed To Plead Facts With Specificity As To How Its
14                          Alleged Trade Dress Is Non-Functional
15            Nor has Theragun met its burden to plead facts with specificity as to how its alleged trade
16     dress is non-functional. The FAC (at ¶19) merely makes the conclusory allegation that “[t]he
17     Trade Dress … is not functional ….” and recites the elements of the legal test for determining
18     functionality. Compare id. at ¶19, with R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *16-
19     17. These conclusory allegations of non-functionality are even more deficient than the
20     conclusory assertions in R & A Synergy, Puma, Virgin Scent, Swift Harvest, and Kellytoy, which
21     were all found to fail the pleading requirements. R & A Synergy, 2019 U.S. Dist. LEXIS 168266,
22     at *15-21; Puma, 2017 U.S. Dist. LEXIS 211140, at *15-17; Virgin Scent, 2018 U.S. Dist.
23     LEXIS 226095, at *12-14; Swift Harvest, 2020 U.S. Dist. LEXIS 247232, at *37-39; Kellytoy,
24     2019 U.S. Dist. LEXIS 228248, at *12-15.
25            Furthermore, the color blue with respect to massage products is functional because it
26     provides a utilitarian advantage based on psychological principles. The use of colors to affect
27     moods, feelings, and emotions of human beings has been known since ancient times. Blue is
28     known to bring relaxation, calmness, ease, and tranquility—which are all important feelings in
                                                       -15-
                                                                                Defendant’s Motion to Dismiss FAC
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 1     connection with a massage in which users are seeking to feel relaxed and refreshed. Theragun’s
 2     bare assertion that “there is no established science connecting the use of certain colors to the
 3     production of certain moods, feelings, or emotions” and that “a given color on a product cannot
 4     reliably produce a certain emotional response” is unsupported by any factual allegations.
 5     Allowing Theragun to control a useful product feature, such as the color blue, would inhibit
 6     legitimate competition. See Virgin Scent, 2018 U.S. Dist. LEXIS 226095, at *11. Akin to the
 7     Supreme Court’s recognition in Qualitex that the color black was functional for outboard boat
 8     motors because black decreases the apparent size of the motor, so does blue serve a utilitarian
 9     advantage for massage products. Qualitex, 514 U.S. at 169-70. Blue is likewise functional due
10     to “aesthetic functionality,” because it is known to be the favorite color of a large percentage of
11     people. See Aurora World, 2011 U.S. Dist. LEXIS 161676, at *73-78. Competitors would be at
12     a severe disadvantage if they were not able to use the color blue on massage products.
13                   3.     Theragun Failed To Plead Concrete Facts Regarding Secondary
14                          Meaning
15            Theragun failed to plead factual content to allow the court to draw the reasonable
16     inference that the alleged trade dress is either inherently distinctive or has acquired a secondary
17     meaning. Akin to the Complaint, in the FAC, Theragun merely makes the following naked or
18     conclusory allegations regarding its purported trade dress: (1) “[it] is either inherently
19     distinctive, or, through Theragun’s continuous use and promotion, has acquired distinctiveness,
20     and the Trade Dress is uniquely associated with Theragun and its massage gun products” (FAC
21     at ¶20); (2) “Since at least as early as May 31, 2015, Theragun has used a distinctive blue color
22     in presenting its trademarks, in its marketing and advertising, and on its massage gun products”
23     (id. at ¶13); (3) “[it] is associated by the public exclusively with Theragun and its products and
24     is used by the public as an indicator of the origin and quality of Theragun’s massage gun
25     products” (id. at ¶21); and (4) “[it] is either inherently distinctive or, as a result of its use, has
26     acquired secondary meaning whereby the relevant consuming public and the trade associate
27     these features with a single source” (id. at ¶47). While the FAC adds that Theragun “has sold
28     millions of dollars of products bearing its distinctive color blue,” and that products bearing the
                                                       -16-
                                                                                Defendant’s Motion to Dismiss FAC
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 1     “distinctive color blue” were used by celebrities, athletes, and were the subject of press and
 2     advertising, it does not specify which products this applies to. See id. at ¶21. As discussed
 3     previously, Theragun’s use of the color blue on its products is inconsistent. Thus, it is unclear
 4     from the allegations in the FAC, which products and therefore which use of the color blue has
 5     been advertised in a manner to support trade dress protection. The FAC likewise makes the
 6     conclusory statement that Penthe copied Theragun’s alleged trade dress, with no alleged factual
 7     support.
 8            Further, Theragun’s assertion that its alleged trade dress is “inherently distinctive” fails
 9     as a matter of law because a color can never be inherently distinctive. See Wal-Mart, 529 U.S.
10     at 210-11; Qualitex, 514 U.S. at 162-163; EZ Pedo, 765 F. App’x at 324; Skechers, 2007 U.S.
11     Dist. LEXIS 88635, at *7. The intrinsic nature of a color does not serve to identify any particular
12     source.
13            Theragun failed to allege any concrete facts regarding secondary meaning to indicate that
14     when consumers see an item exhibiting the purported trade dress, they associate the item with
15     Theragun. The most Theragun states is that “[s]ince at least as early as May 31, 2015, Theragun
16     has used a distinctive blue color in presenting its trademarks, in its marketing and advertising,
17     and on its massage gun products.” FAC at ¶13. That statement regarding marketing and
18     advertising as well as the few other statements identified above from the FAC are exactly the
19     type of general allegations and conclusory statements that the courts in Kittrich, Deckers, R & A
20     Synergy, and Swift Harvest found to be inadequate for pleading the element of secondary
21     meaning. Kittrich, 2017 U.S. Dist. LEXIS 230984, at *16-17; Deckers, 2015 U.S. Dist. LEXIS
22     188274, at *14-17; R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *21-25; Swift Harvest,
23     2020 U.S. Dist. LEXIS 247232, at *39-41.
24            Furthermore, Theragun never alleges that it exclusively uses blue on its massage gun
25     products, or that it consistently uses blue in the same manner on its massage gun products, but
26     rather, admits just the opposite. See FAC at ¶20 (“Theragun has offered certain special edition
27     products with accents in other colors … Theragun also omits the blue accents from certain of its
28     basic product lines.”) Then, Theragun contradicts itself and asserts that its use of the color blue
                                                      -17-
                                                                              Defendant’s Motion to Dismiss FAC
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 1     is “consistent and pervasive.” Id. Exs. 1-4 of the Gills Decl. submitted herewith are screenshots
 2     from Theragun’s website, which include the following images.12
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11           Theragun’s webpages show that Theragun actively associates itself with the colors red
12     and gold for similar products, and that it also sells similar products that are white with red, or
13     completely black. Theragun also does not assert that it is the only company selling massage gun
14     products having the color blue, nor can it make such an assertion. Ex. 5 to the Gills Decl. is a
15     screenshot of a webpage13 for Google image search results for the phrase “massage gun blue,”
16     showing that the massage product industry is replete with competitors using the color blue on
17     their products. Theragun fails to mention or address such issues.
18                  4.     Theragun Failed To Plead Sufficient Facts To Support A Finding
19                         Of A Substantial Likelihood Of Consumer Confusion
20           Theragun failed to allege sufficient facts to support a finding of a likelihood of consumer
21           12
                 The Court may properly take judicial notice of the screenshots of Theragun’s
22     website. See Turner v. Samsung Telcoms. Am., LLC, No. CV 13-00629-MWF (VBKx),
       2013 U.S. Dist. LEXIS 198631, at *3-4 (C.D. Cal. Nov. 4, 2013). In Turner, the court took
23     judicial notice of a screen capture printout of the plaintiff’s webpage in connection with
       deciding a motion to dismiss. Id. at *3-5.
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25              The Court may properly take judicial notice of the screenshot of the webpage. See
       Turner, 2013 U.S. Dist. LEXIS 198631, at *3-5; see also Loomis v. Slendertone
26     Distribution, Inc., 420 F. Supp. 3d 1046, 1062-63 (S.D. Cal. 2019) (the Court sua sponte
       takes judicial notice of the printouts from an Amazon.com listing); Wible v. Aetna Life Ins.
27     Co., 375 F. Supp. 2d 956, 965-66 (C.D. Cal. 2005) (granting judicial notice over two
       Amazon.com webpages).
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                                                                             Defendant’s Motion to Dismiss FAC
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 1     confusion. Theragun merely makes the conclusory assertions that using a blue color is “likely
 2     to cause confusion or mistake” and that Penthe “did confuse, mislead, and/or deceive the public
 3     ….” FAC at ¶¶27, 49, 51. The FAC adds that the “consumers and the channels of trade and
 4     marketing are the same for both parties” but alleges no facts to support its additional conclusory
 5     allegations. Theragun’s conclusory allegations regarding likelihood of consumer confusion are
 6     even more deficient than the allegations in R & A Synergy that were found to be deficient at the
 7     pleading stage. R & A Synergy, 2019 U.S. Dist. LEXIS 168266, at *25-28. Moreover, different
 8     brand names and logos are prominently placed on both the Theragun products and the accused
 9     products identified in the FAC. The Theragun products and packaging shown in the images in
10     the FAC have either the name “Theragun” or the logo “TG” or both prominently displayed to
11     indicate Theragun, whereas the accused products in the FAC have prominent placement of the
12     distinguishing logo of “VYBE” in huge font for VYBE brand products. FAC ¶¶ 15-17, 42. The
13     permanent and prominent display of different name logos on the products dispels any potential
14     likelihood of confusion. See S & B Filters, 2016 U.S. Dist. LEXIS 192271, at *23-24; Spark
15     Indus., 2014 U.S. Dist. LEXIS 125538, at *47-51.
16           C.     Theragun’s Second Cause Of Action For Common Law Trade Dress
17                  Infringement And Unfair Competition Should Be Dismissed
18           Theragun’s second cause of action for common law trade dress infringement and unfair
19     competition should be dismissed because there is no California common law trade dress claim
20     separate from an unfair competition claim, and the unfair competition claim should be dismissed
21     for the same reasons as the Federal trade dress claim. Where a plaintiff’s unfair competition
22     claims are predicated on its trade dress claim, then the unfair competition claim similarly fails.
23     Benebone, 2020 U.S. Dist. LEXIS 250164, at *18-19; Sugarfina, 2017 U.S. Dist. LEXIS
24     156711, at *16. Also, in view of the authority that state common law claims of unfair
25     competition pursuant to Cal. Bus. and Prof. Code § 17200 are substantially congruent to claims
26     made under the Lanham Act, there is no California common law trade dress claim separate from
27     an unfair competition claim.
28           D.     Theragun’s Third, Fourth, Fifth, Sixth, Seventh, And Eighth Causes Of
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                                                                             Defendant’s Motion to Dismiss FAC
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 1                  Action For Patent Infringement Should Be Dismissed
 2           Theragun’s third, fourth, fifth, sixth, seventh, and eighth causes of action for design patent
 3     infringement should be dismissed because Theragun failed to plead factual content that would
 4     allow the court to draw a reasonable inference that Penthe is liable under the ordinary observer
 5     test. In particular, Theragun once again failed to provide sufficient photographs of the allegedly
 6     infringing products in the FAC, so the Court cannot infer any plausible claim of infringement
 7     from the photographs provided by Theragun. See Hung, 2019 U.S. Dist. LEXIS 168825, at *3-
 8     5; Sanho, 2020 U.S. Dist. LEXIS 199299, at *8, *13. Even in light of Penthe’s arguments in its
 9     original Motion to Dismiss that the design patents have limitations in other views and that the
10     Court must therefore consider other views of the accused products, Theragun still only provided
11     a single side view of each accused product, while at the same time opposing Penthe’s request
12     that the Court take judicial notice of additional photographs of the accused products. See Dkt.
13     27 at 18-23; Dkt. 29, Motion for Judicial Notice, at 2-3, Dkt. 32, Opposition to Motion for
14     Judicial Notice, at 4-5. Just as in Hung, this Court does not have exhibits or aids from the FAC
15     for comparing the allegedly infringing products with the patented designs. Hung, 2019 U.S.
16     Dist. LEXIS 168825, at *3-5.14 The patent infringement claims should therefore be dismissed
17     for failure to provide enough photograph views of the accused products to allow the Court to
18     draw any inferences.15
19           If Theragun had provided photographs of the other views of the accused products, it
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21               As explained in Contessa Food, the ordinary observer analysis must encompass
       the claimed ornamental features of all figures of a design patent, so it is erroneous for a
22     district court to only consider one figure of a design patent with respect to one side of an
       accused product. Contessa Food, 282 F.3d at 1378-79.
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             15
                 Moreover, the side view photographs of the attachment pieces that Theragun
24     provides in the FAC show the massage tip, or massage head, which is a functional part of
25     the attachment piece because the shape of that part dictates the feeling of the massage. FAC
       at ¶¶65, 76, 98, 109, 120. Functional elements in a design patent are outside of the patent’s
26     scope and are not taken into account when determining similarities in an ordinary observer
       analysis. Sport Dimension, 820 F.3d at 1320; Colida, 347 F. App’x at 571. Theragun failed
27     to provide photographs of other views of the attachment pieces, so a proper comparison is
       not possible from the FAC.
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                                                                               Defendant’s Motion to Dismiss FAC
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 1     would be apparent that the patented designs and the accused products are sufficiently distinct
 2     such that Theragun cannot satisfy the ordinary observer test and, therefore, the patent
 3     infringement causes of action should be dismissed. See SCG Characters, 2015 U.S. Dist. LEXIS
 4     101287, at *11-17, *21-22; Anderson, 570 F. App’x at 928, 933-34; Colida, 347 F. App’x at
 5     569-71. Exs. 6-8 to the Gills Decl. show additional views of products accused of patent
 6     infringement in the FAC. “[T]he Court may consider … images of the accused products without
 7     converting the motion to dismiss into one for summary judgment.” SCG Characters, 2015 U.S.
 8     Dist. LEXIS 101287, at *17 (citation omitted). Further, the USPTO’s decisions denying
 9     Penthe’s requests for ex parte reexamination specify various claim elements for each patent, and
10     because each of the accused products do not meet those claim elements, Theragun’s claims for
11     patent infringement must be dismissed.16
12            The following table shows, in the first row, annotated versions of FIGS. 1-3 of the ’261
13     Patent and, in the second row, photographs of the accused product. ’261 Patent, FIGS. 1-3; FAC
14     at ¶65; Gills Decl., Ex. 6. FIGS. 1-3 of the ’261 Patent, show a protrusion or “step up” identified
15     by the blue arrow that is close to the edge, and another protrusion or “step up” identified by the
16     purple arrow. FIGS. 1 and 3 also show that the hole has two straight sides as identified by the
17     green arrows and two arcing sides connecting those straight sides. In contrast, the accused
18     product does not have any of those features. The bottom surface area identified by the red arrow
19     is completely flat with no protrusion or “step up,” and the hole is completely circular as
20     identified by the yellow arrow with no straight sides. Plain differences exist, therefore, between
21     the patented design and the accused product due to dissimilarities that would be apparent to an
22     ordinary observer. The USPTO decision for the ’261 Patent further supports these points and
23     states that the claimed design has the following elements: “(D) Entire exposed edge of the raised
24     rim is chamfered” and “(D) Narrow cylindrical element with raised rim.” Ex. 17 at 6; Gills Decl.,
25     ¶25. None of these elements are present in the accused product.
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              16
               The USPTO decisions are attached as Exs. 15-20 of the Gills Decl. The Court may
27     properly take Judicial Notice of government documents from the USPTO. Wible, 375 F.
       Supp. 2d at 965 (C.D. Cal. 2005).
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                                                                              Defendant’s Motion to Dismiss FAC
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13            The differences between the accused product and the ’261 Patent also apply with respect
14     to the ’182 Patent, except the protrusion or “step up” identified by the purple arrow above is
15     shown in dashed lines in the ’182 Patent. ’182 Patent, FIG. 1. Additionally, the USPTO
16     reexamination decision for the ’182 Patent states that the claimed design has a “Narrow
17     cylindrical element with non-circular opening / cavity” and that the “cavity has a particular
18     shape characterized by a generally circular perimeter with two opposing straight sides” (Ex. 18
19     at pp. 6, 8 (emphasis added); Gills Decl., ¶26) but, as explained above, the accused product has
20     a circular opening with no straight sides.
21            The following table shows, in the first column, an annotated version of FIG. 1 of the ’387
22     Patent and, in the second column, the circled portion of the photograph of the accused product
23     shown in the FAC. ’387 Patent, FIG. 1; FAC at ¶87. As shown in FIG. 1, the design includes an
24     arching rectangular design element as identified by the green arrow, and also has a sloping side
25     that intersects the arching rectangular element at a location away from the left side of the arching
26     rectangular element as identified by the purple arrow. Such features are completely missing
27     from the accused product and the photograph provided in the FAC is of such poor quality that
28     it is impossible to make a comparison. Any alleged infringement is therefore facially
                                                      -22-
                                                                               Defendant’s Motion to Dismiss FAC
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 1     implausible.
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 7           The following table shows, in the first row, annotated versions of FIGS. 1-3 of the ’640
 8     Patent and, in the second row, photographs of the accused product. ’640 Patent, FIGS. 1-3; FAC
 9     at ¶98; Gills Decl., Ex. 7. FIGS. 1-3 show a protrusion or “step up” identified by the blue arrow
10     that is on top of the sphere, and another protrusion or “step up” identified by the purple arrow.
11     FIGS. 1 and 3 also show that the hole has two straight sides as identified by the green arrows
12     and two arcing sides connecting those straight sides. In contrast, the accused product does not
13     have any of those features. The bottom surface area identified by the red arrow is completely
14     flat or downward sloping with no protrusion or “step up,” and the hole is completely circular as
15     identified by the yellow arrow with no straight sides. The USPTO decision for the ’640 Patent
16     also states that the claimed design has a “(A) Narrow cylindrical element with raised rim,” “(B)
17     Lip between the spherical element and cylindrical element,” and “(C) Entire exposed edge of
18     the raised rim is chamfered,” which are not present in the accused product. Ex. 15 at 5; Gills
19     Decl., ¶23. Plain differences exist, therefore, between the patented design and the accused
20     product due to dissimilarities that would be apparent to an ordinary observer.
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                                                                             Defendant’s Motion to Dismiss FAC
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              The differences between the accused product and the ’640 Patent also apply with respect
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       to the ’680 Patent, except the protrusion or “step up” identified by the purple arrow above is
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       shown in dashed lines in the ’680 Patent. ’680 Patent, FIG. 1. Additionally, the USPTO decision
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       for the ’680 Patent recognized that an entirely circular opening is not covered by the patent and
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       found that the claimed design includes “(A) Shallow cylindrical element with raised rim,” “(B)
11
       Lip between the spherical element and cylindrical element.” See Ex. 16 at 5, 13; Gills Decl.,
12
       ¶24. The accused product clearly has an entirely circular opening and does not have a raised rim
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       or lip, and therefore cannot infringe.
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              The following table shows in the first row annotated versions of FIGS. 3 and 5 of the
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       ’943 Patent, and in the second row photographs of the accused product. ’943 Patent, FIGS. 3, 5;
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       FAC at ¶120; Gills Decl., Ex. 8. FIGS. 3 and 5 show a relationship in size between an outer
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       surface shown by the purple arrow and an outer bulge shown by the blue arrow, where the two
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       surfaces are close in size. In contrast, no such size relationship exists in the accused product
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       because the outer perimeter identified by the orange arrow is very small compared to the outer
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       perimeter identified by the red arrow. Moreover, the surface in FIGS. 3 and 5 of the ’943 patent
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       identified by the green arrow is a flat surface with no steps up or down, whereas the accused
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       product has a step up as identified by the area of the orange arrow and a step down into a hole
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       as identified by the area of the yellow arrow. Further, the USPTO decision for the ’943 Patent
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       recognized that the claimed design “includes a solid circular surface at the end of its conical
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       portion” and found that a design that included a circular opening was different. Ex. 19 at 9-10
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       (emphasis added); Gills Decl., ¶27. Plain differences therefore exist between the claimed design
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       and the accused product due to dissimilarities that would be apparent to an ordinary observer.
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                                                     -24-
                                                                             Defendant’s Motion to Dismiss FAC
                                                                               Case No: 2:21-cv-01006-JAK-PD
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              E.     Theragun’s Ninth Cause Of Action For State Unfair Business Practices

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                     Should Be Dismissed

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              Theragun’s ninth cause of action for state unfair business practices under Cal. Bus. and

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       Prof. Code § 17200 should be dismissed because any such claim based on alleged patent

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       infringement is preempted by the Federal Patent Act, and any such claim based on alleged trade

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       dress infringement should be dismissed for the same reasons as the Federal trade dress claim.

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       Deckers, 2015 U.S. Dist. LEXIS 188274, at *21-24; Benebone, 2020 U.S. Dist. LEXIS 250164,

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       at *18-19; Sugarfina, 2017 U.S. Dist. LEXIS 156711, at *16. Moreover, to the extent that

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       Theragun is attempting to allege “fraudulent business practices” (FAC at ¶130), such an

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       allegation must be dismissed because Theragun does not allege any particularities of an alleged

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       fraud. See Greenberg v. Johnston, No. CV-14-04605-MWF (VBKx), 2014 U.S. Dist. LEXIS

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       194325, at *17-18 (C.D. Cal. Oct. 22, 2014) (holding that to satisfy the requirements of Fed. R.

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       Civ. P. 9(b) for pleading fraud, a plaintiff must allege the “who, what, when, where and how”

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       of the alleged fraud).

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       IV.    CONCLUSION

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              For each and all of the foregoing reasons, Penthe respectfully requests that Theragun’s

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       FAC be dismissed with prejudice.

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                                                                            Defendant’s Motion to Dismiss FAC
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 1
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                                                                  Defendant’s Motion to Dismiss FAC
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